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		OSCN Found Document:WADKINS v. STATE

					

				
  



				
					
					
						
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				WADKINS v. STATE2022 OK CR 1Case Number: F-2018-790Decided: 01/20/2022ROBERT ERIC WADKINS, Appellant v. THE STATE OF OKLAHOMA, Appellee.
Cite as: 2022 OK CR 1, __  __

				

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ORDER GRANTING MOTION FOR PUBLICATION 



¶1 This Court handed down an Opinion in the above-styled case on October 28, 2021. The opinion addressed Wadkins's meritorious claim that the State of Oklahoma lacked jurisdiction over the charged crimes because he is an Indian and the crimes occurred in Indian Country. On November 18, 2021, Wadkins, by and through his counsel Chad Johnson, filed a motion requesting publication of the opinion in this matter.

¶2 For good cause shown, the Court GRANTS the request for publication, and the Opinion, as corrected, is hereby released for publication.

¶3 IT IS THEREFORE THE ORDER OF THIS COURT that the Opinion, as corrected and paragraphed, is hereby AUTHORIZED FOR PUBLICATION.

¶4 The Clerk of this Court is directed to transmit a copy of this order to the Court Clerk of Choctaw County; the District Court of Choctaw County, the Honorable Gary L. Brock, Special Judge; and counsel of record.

¶5 IT IS SO ORDERED.

¶6 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 20th day of January, 2022.


/S/SCOTT ROWLAND, Presiding Judge



/S/ROBERT L. HUDSON, Vice Presiding Judge



/S/GARY L. LUMPKIN, Judge



/S/DAVID B. LEWIS, Judge


ATTEST:

/s/John D. Hadden
Clerk


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